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                         EXHIBIT 1




                                                                                       UBSXP04
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                                           SENTINEL RE INSURANCE, LTD,
                                                  PO BOX 10008
                                         WILLOW HOUSE, CRICKET SQUARE
                                            GRANO CAYMAN KVl-1001
                                                CAYMAN ISLANDS




        30 August 2021


        James P. Seery Jr.
        Highland Capital Management
        300 Crescent Court, Suite 700
        Dallas, Texas 75201




        Dear Mr. Seery,

        RE: Sentinel Reinsurance, Ltd.

        We are the newly appointed board of directors of Sentinel Reinsurance, Ltd (Sentinel). As you will no
        doubt appreciate, as a part of our ongoing fiduciary obligations to the Company, it is beholden upon
        us to ascertain the nature and extent of the Company's assets and to secure them for the benefit of
        Sentinel. We understand that you are the person responsible for keeping up-to-date records and
        inventory of the assets which are owned by Sentinel and to which Highland Capital Management,
        LP. (HCM) acts as manager.

        Consequently, attached as Schedule 1 to this letter is a list of assets owned by Sentinel which we
        understand to be managed by HCM. We also understand that certain of the assets were transferred
        to Sentinel by various other High land-related entities, inter alia:
            •   HIGHLAND CO OOPPORTUTNITY MASTER FUND, LP.
            •   HIGHLAND COO OPPORTUTNITY FUND, LTD.
            •   HIGHLAND COO HOLDINGS COMPANY
            •   HIGHLAND SPECIAL OPPORTUNITIES HOLDINGS COMPANY
        The names of the above entities should not be seen as an exhaustive list. Please confirm whether or
        not assets were transferred to Sentinel from other Highland-related entities and, if so, please
        provide us with the names of those entities.
        For each of the assets listed in Schedule 1, please will you provide the following information:

            1. Confirmation that Sentinel is listed as the current, registered owner of the asset.
            2. If Sentinel is not registered as the current owner of the asset, please provide the appropriate
               documentation to perfect the re-registration of those assets into the name of Sentinel.
            3. All valuations, NAVs and investor communications in respect of each of the assets.
            4. The timing and amount of anticipated distributions from each of the assets, going forward.




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                                          SENTINEL REINSURANCE, LTD.
                                                 PO BOX 10008
                                         WILLOW HOUSE, CRICKET SQUARE
                                            GRAND CAYMAN KYl-1001
                                               CAYMAN ISLANDS


        We also understand that a balance in excess of $32.8 million is due, owing and payable to Sentinel
        by Highland Multi Strategy Credit Fund, Ltd (HMSC). Please provide confirmation of the amount
        recorded in your records as being due, owing and payable to Sentinel and when we can expect to
        receive those amounts from HMSC.

        If it would be more efficient, please provide us with an appropriate point of contact within HCM,
        and we can schedule a call to go through the assets listed in Schedule 1.

        Yours Sincerely,




        Casey McDonald

        For and on behalf of the Board of Directors of Sentinel Reinsurance, Ltd.




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                                                  Schedule 1

        ISIN/CUSIP     Description                                                  Traded Shares/Par
      KY009AIKXYH6     ABERDEEN LN FDG LTD PFD                                             12,000,000.00
       KY84427P2029    SOUTHFORK CLO LTD CUM PFD 144A                                          10,000.00
       KYG829101032    SOUTHFORK CLO LTD PFD                                                    9,000.00
       US00306M3007    ABERDEEN LN FDG LTD PFD                                                  5,000.00
       US3624682098    GSC ABS CDO 2006 4U LT CUM PFD 144A                                     16,000.00
       US39364P201 l   GREENBRIAR CLO LTD PFD 144A                                             16,250.00
       US43009L2034    HIGHLAND FINL PARTNERS LP                                              615,733.00
       US43009L9898    HIGHLAND FINL PARTNERS LP NPV                                        3,000,000.00
       US5431742056    LONGSTREET CDO I LTD PFD 144A                                            3,000.00
      US69763NAD30     PAM CAP FDG LP 0.0 01MAYI3 144A                                     48,500,000.00
      US91914QAA40     VALHALLA CLO LTD 0.0 01AUG23 144A                                    6,000,000.00
       US925331AA89    VERTICAL ABS CDO 2 0.0 09MAY46 144A                                  6,000,000.00
            NIA        HIGHLAND GEMINI PROGRAM (POLLUX)                                        65,314.00
            NIA        PROMISSORY NOTE (THE DUGABOY INVESTMENT TRUST AS MAKER)              2,399,996.00
        BCC0MVTX4      CAMBR 5X FLOATING 12/2045                                           19,350,000.00
       US404185AD22    HFT REAL EST 3.33867 25NOV51 144A F                                    750,000.00
       US86280AAE73    STRATFORD CL 3.16956 01NOV21 144A F (Class C Notes)                    300,000.00
       USG44392AF82    HIGHLAND PARK C 4.93867                                             17,000,000.00
            NIA        PROMISSORY NOTE CLO HOLDCO, LTD. AS MAKER 12/23/2025                32,801,593.00
            NIA        DIVIDENDS RECEIVABLE HIGHLAND CAPITAL MANAGEMENT, LP                   136,598.00
       US5431742056    LONGSTREET CDO I LTD PFD 144A                                            1,570.00
       US925331AA89    VERTICAL ABS CDO 2 0.0 09MAY46                                       5,000,000.00
         27734A400     EASTLAND CLO LTD II                                                      4,000.00
         389668302     GRAYSON CLO LTD 144A (GCLO 0)                                            5,000.00
         39364P300     GREENBRIAR CLO LTD (GRNBR 0)                                             3,000.00
         86280C301     STRATFORD CLO LTD 144A (STRAFD 0)                                        4,000.00




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                                                                                                  UBSXP07
